
PER CURIAM.
We have for review a decision on the following question certified to be of great public importance:
WHEN A CONVICTION FOR ATTEMPTED FIRST DEGREE FELONY MURDER MUST BE VACATED ON AUTHORITY OF STATE v. GRAY, 654 So.2d 552 (Fla.1995), DO LESSER INCLUDED OFFENSES REMAIN VIABLE FOR A NEW TRIAL OR REDUCTION OF THE OFFENSE?
Lee v. State, 664 So.2d 330, 331 (Fla. 3d DCA 1995). We have jurisdiction. Art. V, § 3(b)(4), Fla. Const.
We answered this question in State v. Wilson, No. 86,680, — So.2d - (Fla. July 3, 1996), by holding that where a conviction for attempted felony murder has been vacated on the basis of our opinion in Gray, the proper remedy is retrial on any lesser offense instructed on at trial. Wilson, slip op. at 3, — So.2d at -. We quash the decision below and remand for proceedings consistent with our opinion in Wilson.
It is so ordered.
KOGAN, C.J., and OVERTON, SHAW, GRIMES, HARDING, WELLS and ANSTEAD, JJ., concur.
